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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS

ROBERTA MANDARICH,
Executrix of the Estate of
Hubert W. Pollard                                                           PLAINTIFF

vs.                                  Case No. 4:12CV00553 JM

UNITED STATES OF AMERICA                                                    DEFENDANT




                                          JUDGMENT

       Pursuant to the order entered on this date, Plaintiff’s complaint is dismissed with

prejudice.

       IT IS SO ORDERED this 16th day of October, 2014.



                                              _________________________________________
                                             James M. Moody Jr.
                                             United States District Judge
